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                  IN THE UNITED STATES DISTRICT COURT                     FILED
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION
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                                                                         DIStrict Of :;trict Court
                                                                               Missou/~ntana
 UNITED STATES OF AMERICA,                            CR 15-13-M-DLC
                      Plaintiff,
                                                      FINDINGS AND
        vs.                                         RECOMMENDATION
                                                    CONCERNING PLEA
 ALBERT PEDRO JAQUEZ, JR.,

                      Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiring to distribute

methamphetamine in violation of21 U.S.C. §§ 841(a)(l) and 846 (Count I), as set

forth in the Indictment. In exchange for Defendant's plea, the United States has

agreed to dismiss Count III of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charge against him and


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consequences of pleading guilty to the charge,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count I of

the Indictment, and that sentence be imposed. I further recommend that Count III

of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.


      DATED this 13th day of October



                                        e emiah C. Lynch
                                         nited States Magistrate Judge

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